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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO

THE ANIMAL HOSPITAL ON MT.                         )
LOOKOUT SQUARE, INC., individually and             ) Case No.
as the representative of a class of similarly-     )
situated persons,                                  )
                                                   ) CLASS ACTION
                      Plaintiff,                   )
                                                   )
               v.                                  )
                                                   )
MASTERS PHARMACEUTICAL, INC.;                      )
MASTERS PHARMACEUTICAL, LLC; 360                   )
PHARMA GROUP, LLC; DENNIS B.                       )
SMITH; and MASTERS DRUG COMPANY,                   )
INC.                                               )
                                                   )
                      Defendants.                  )


                               CLASS ACTION COMPLAINT

        Pursuant to Rules 7 and 8 of the Federal Rules of Civil Procedure, Plaintiff The Animal

Hospital on Mt. Lookout Square, Inc. (“Animal Hospital”) alleges the following against

Defendants Masters Pharmaceutical, Inc., Masters Drug Company, Inc., 360 Pharma Group,

LLC; Dennis B. Smith; and Masters Pharmaceutical, LLC.

                                            PARTIES

        1.     Animal Hospital is an Ohio corporation, and its principal place of business is

located in Cincinnati, Ohio.

        2.     Masters    Pharmaceutical,    LLC    (hereinafter   referred   to   as   “Masters

Pharmaceutical”) is an Ohio corporation, and its principal place of business is located in Mason,

Ohio.
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       3.       Masters Pharmaceutical, Inc. is an Ohio corporation, and its principal place of

business is located is located in Mason, Ohio. On May 13, 2016, 2016, Masters Pharmaceutical,

Inc., was converted to Masters Pharmaceutical, LLC.

       4.       In 2016, “Masters Pharmaceutical” was a registered trade name of Masters

Pharmaceutical and/or Masters Pharmaceutical, Inc.

       5.       Masters Drug Company, Inc. (“Masters Drug”) is a Delaware corporation, and its

principal place of business is located in Mason, Ohio.

       6.       Based on information and belief, Masters Drug is the parent corporation of

Masters Pharmaceutical.

       7.       “Masters Pharmaceutical” presently operates as a sales and marketing division of

Masters Drug.

       8.       360 Pharma Group, LLC is an Ohio corporation, and its principal place of

business is in Mason, Ohio.

       9.       Based on information and belief, 360 Pharma Group, LLC was the parent

corporation of Masters Pharmaceutical and/or Masters Pharmaceutical, Inc. in 2016.

       10.      Dennis B. Smith is an individual and a resident of Ohio. Mr. Smith was the CEO

and sole shareholder of Masters Pharmaceutical, Inc. and then Masters Pharmaceutical, LLC.

Mr. Smith was directly involved in the management of Masters Pharmaceutical, including its

marketing and advertising.

                                 JURISDICTION AND VENUE

       11.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 as Animal

Hospital’s claims allege the violation of a federal statute, 47 U.S.C. § 227, that gives rise to

federal question jurisdiction.




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        12.     This Court has personal jurisdiction over Masters Pharmaceutical, LLC, Masters

Pharmaceutical, Inc., 360 Pharma Group, LLC, Dennis Smith, and Masters Drug Company, Inc.

because they have transacted business within this judicial district, have made contacts within this

judicial district, and/or have committed tortious acts within this judicial district.

        13.     This Court has venue under 28 U.S.C. § 1391 because a substantial part of the

events or omissions giving rise to the claims asserted herein occurred in this judicial district.

                                               FACTS

        14.     On April 7, 2016, Animal Hospital received a document on its fax machine that

purported to be from “Masters Pharmaceutical” (the “Masters Pharma Fax”). The Masters

Pharma Fax was an order form for a pharmaceutical drug called “Fluvirin®” and associated

products. The Masters Pharma Fax contained the respective prices for these products along with

typical marketing inducements such as “SPECIAL OFFER”, “FREE!”, and “BOOK NOW!” A

copy of the Masters Pharma Fax is attached hereto as Exhibit A.

        15.     Based on information, belief, and their appearance, the Masters Pharma Fax was

transmitted to Animal Hospital and many other persons via their respective fax numbers/fax

machines.

        16.     47 U.S.C. § 227 is a federal law commonly referred to as the “Telephone

Consumer Protection Act” (“TCPA”) or “Junk Fax Prevention Act” (“JFPA”). The TCPA

prohibits sending advertisements to people via their fax number/fax machine without their prior,

express invitation or permission.

        17.     Animal Hospital did not give prior, express invitation or permission to Masters

Pharma, Masters Pharmaceutical, 360 Pharma Group, Dennis Smith, or Masters Drug to send it

the Masters Pharma Fax or any other advertisements via its fax number/fax machine.




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       18.     “Masters Pharmaceutical” is a trade name registered by Masters Pharmaceutical,

Inc. and also a wholesaler and/or distributor of pharmaceutical products such as vaccines,

generic and brand-name prescription drugs, over-the-counter drugs, diabetic supplies, topicals,

and other medical supplies.

       19.     In April of 2016, Masters Pharmaceutical, Inc. d/b/a Masters Pharmaceutical sold

Fluvirin® and the other products listed in the Masters Pharma Fax.

       20.     In January of 2018, Masters Drug purchased the assets of Masters

Pharmaceutical, LLC.

       21.     Since that time, Masters Drug has continued the business of Masters

Pharmaceutical using the same trade name, employees, and facilities. In turn, since that time,

Masters Pharmaceutical, LLC has conducted no active operations and has ceased to exist as a

viable business concern.

       22.     360 Pharma Group, LLC, Masters Pharmaceutical, Masters Pharmaceutical, Inc.,

and/or Masters Drug derived revenue from the sale of the products advertised in the Masters

Pharma Fax.

                              CLASS ACTION ALLEGATIONS

       23.     Animal Hospital brings this action on behalf of the following persons: “All

persons who (1) on or after four years prior to the filing of this action (2) were sent the Masters

Pharma Fax or similar material (3) via facsimile (4) by or on behalf of Masters Pharmaceutical

and/or Masters Drug.” The persons who meet these criteria are the putative class members.

       24.     Numerosity: Based on information, belief, and the appearance of the Masters

Pharma Fax, the number of putative class members exceeds forty.




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       25.     Commonality: Common questions of law and fact apply to the claims of the

putative class members. These include the following:

               (a)     Whether the Masters Pharma Fax constitute an “unsolicited
                       advertisement” within the meaning of the TCPA;

               (b)     How Defendants compiled or obtained the list of fax
                       numbers to which Masters Pharma Fax was sent;

               (c)     Whether Defendants obtained “express invitation or
                       permission” within the meaning of the TCPA from the
                       intended targets prior to sending them the Masters Pharma
                       Fax;

               (d)     Whether the Masters Pharma Fax contained an opt-out
                       notice that complied with the requirements of the TCPA;

               (e)     Whether Defendants violated the TCPA and the regulations
                       promulgated thereunder with regard to the Masters Pharma
                       Fax; and

               (f)     Whether Defendant sent the Masters Pharma Fax
                       “knowingly” or “willfully” within the meaning of the
                       TCPA.

       26.     Typicality: Animal Hospital is asserting the same claim under the same federal

statute as all of the other members of the putative class. Aside from an incentive award, Animal

Hospital is seeking the same relief for itself as all of the others members of the putative class.

       27.     Adequacy:     Animal Hospital has no interests in conflict with the putative class

members, has the resources and inclination to prosecute this action to completion, and has

retained experienced and competent counsel to assist it in doing so.

       28.     Predominance: The questions of law and fact common to the putative class

members predominate over any questions affecting only individual members because:

               (a)     Animal Hospital’s claim depends on the same factual and
                       legal issues as that of the putative class members;




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               (b)     the evidence supporting Defendants’ likely defenses will
                       come solely from Defendants’ own records and will not
                       require any information or inquiries from individual class
                       members;

               (c)     the damages for all putative class members are set by
                       statute and will, therefore, be the same for each and every
                       member of the putative class; and

               (d)     the identity of the putative class members can be readily
                       ascertained from Defendants’ or its agents’ computer
                       records, phone records, or other business records.

       29.     Superiority:   A class action would be superior to individual actions by the

putative class members for the following reasons:

               (a)     the damages suffered by any one class member are too low
                       to justify a stand-alone lawsuit;

               (b)     the TCPA contains no provision for awarding attorney fees.
                       As such, individual claimants would, as a practical matter,
                       have to proceed pro se against large, sophisticated
                       corporate defendants;

               (c)     many of the putative class members are legal entities that
                       would not be permitted to proceed in court pro se; and

               (d)     the evidence concerning each of the putative class
                       member’s claims is so similar that the adjudication of each
                       on an individual basis would be repetitive, inefficient, and
                       wasteful.

                     CLAIM FOR RELIEF – VIOLATION OF THE TCPA

       30.     47 U.S.C. 227(b)(1)(C)(i)-(iii) of the TCPA states, in part, as follows: “It shall be

unlawful for any person . . . to use any telephone facsimile machine, computer or other device to

send, to a telephone facsimile machine, an unsolicited advertisement unless (i) the unsolicited

advertisement is from a sender with an established business relationship with the sender . . . and

(iii) the unsolicited advertisement contains a notice meeting the requirements under paragraph

(2)(D).”



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       31.     47 U.S.C. § 227(a)(5) of the TCPA states as follows: “The term ‘unsolicited

advertisement’ means any material advertising the commercial availability or quality of any

property, goods, or services which is transmitted to any person without that person's prior

express invitation or permission, in writing or otherwise.”

       32.     Masters Pharmaceutical either sent or authorized a third-party to send the Masters

Pharma Fax to the fax machines/fax numbers of Animal Hospital and numerous other persons.

       33.     The Masters Pharma Fax promoted the availability and/or quality of products sold

by Masters Pharmaceutical and/or Masters Drug.

       34.     Neither Masters Pharmaceutical nor the other Defendants obtained express

permission from the targets/recipients of the Masters Pharma Fax prior to sending such

advertisements to their fax machines/fax numbers.

       35.     The Masters Pharma Fax did not contain an opt-out notice that met the

requirements of Paragraph (2)(D) of the TCPA.

       36.     Animal Hospital and the putative class members have suffered actual damages

and statutory damages under the TCPA due to the sending of the Masters Pharma Fax to their fax

machines/fax numbers.

       WHEREFORE, Plaintiff The Animal Hospital on Mt. Lookout Square, Inc., individually

and on behalf of all others similarly situated, demands judgment in its favor and against

Defendants Masters Pharmaceutical, Inc; Masters Pharmaceutical, LLC; 360 Pharma Group,

LLC, Dennis B. Smith, and Masters Drug Company, Inc. as follows:

       (1)     that the Court adjudge and decree that the present action may proceed as a
               class action and certify a class as described herein, appoint Animal
               Hospital as the representative of the certified class, and appoint counsel
               for Animal Hospital as counsel for the certified class;




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   (2)   that the Court award damages to Animal Hospital and the other members
         of the certified class for each violation of the TCPA by the Defendants;

   (3)   that the Court enjoin the Defendants from transmitting any advertisements
         via facsimile until such time as the Defendants have shown they have
         obtained the prior, express invitation or permission of the recipients and
         include an opt-out notice that complies with Paragraph (2)(D) of the
         TCPA on such advertisements; and

   (4)   that the Court award Animal Hospital an incentive award, pre-judgment
         interest, post-judgment interest, attorney fees, treble damages, costs, and
         such other relief as may be just and proper.

                                      Respectfully submitted,

                                      THE ANIMAL HOSPITAL ON MT. LOOKOUT
                                      SQUARE, INC., individually and as the
                                      representative of a class of similarly-situated
                                      persons,

                                      By: /s/ Matthew E. Stubbs
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